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10
                           UNITED STATES DISTRICT COURT

11                       CENTRAL DISTRICT OF CALIFORNIA
12
                                     SOUTHERN DIVISION
13

14   ROSALINDA FERNANDEZ,                             )   Case No. 8:10-cv-01787-AG (RZx)
15
                                                      )
                        Plaintiff,                    )   JOINT STIPULATION AND MOTION
16                                                    )   TO DISMISS ENTIRE ACTION WITH
17         vs.                                        )   PREJUDICE
                                                      )
18
     NCO FINANCIAL SYSTEMS, INC.                      )
19                                                    )
                        Defendant.                    )
20
                                                      )
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22
           Defendant NCO Financial Systems, Inc., and Plaintiff Rosalinda Fernandez,
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     through their designated counsel of record, hereby stipulate and agree that the
24
     above-captioned action be dismissed with prejudice pursuant to FRCP 41(a)(1),
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26   and jointly move this court for an order of dismissal with prejudice.
27
     ///
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                          Joint Stipulation and Motion to Dismiss Action With Prejudice
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           This stipulation and joint motion for dismissal with prejudice is based on the
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     fact that the parties have resolved this action in its entirety. As part of said
 3

 4   resolution, the parties agree to dismiss this action, in its entirety, with prejudice.
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 6

 7                                          Respectfully submitted,
 8
     Dated: August 3, 2011                  SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 9

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11
                                            /s/Debbie P. Kirkpatrick
                                            Debbie P. Kirkpatrick
12                                          Attorney for Defendant
13                                          NCO Financial Systems, Inc.
14

15   Dated: August 3, 2011                  KROHN & MOSS, LTD
16

17
                                            /s/Mahadhi Corzano
18                                          Mahadhi Corzano
19                                          Attorney for Plaintiff
                                            Rosalinda Fernandez
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                            Joint Stipulation and Motion to Dismiss Action With Prejudice
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